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10   Attorneys for Petitioner
     CASIMIRO JOSE CANHA CAVACO DIAS
11
                         IN THE UNITED STATES DISTRICT COURT
12
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
13

14
     In the Matter of I.D., N.D., and C.D.:
15                                                       Case No. 3:24-cv-04471-EMC
     CASIMIRO JOSE CANHA CAVACO DIAS
16
                                                        PETITIONER’S RESPONSES AND
17                  Petitioner,                         OBJECTIONS TO RESPONDENT’S
                                                        REQUEST FOR PRODUCTION OF
18                                                      DOCUMENTS
     and
19
     RULA NABIL KHOURY CAVACO DIAS
20
               Respondent.
21

22

23
            Pursuant to Federal Rules of Civil Procedure 26 and 34, Casimiro Jose Canha Cavaco
24
     Dias (“Petitioner” or “Mr. Dias”), by and through the undersigned counsel, hereby submit these
25   responses and objections to Rula Nabil Khoury Cavaco Dias’s (“Respondent” or “Ms. Dias”)
26   Request for Production of Documents.
27

28
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                                     PRELIMINARY STATEMENT
 1

 2          1.      Petitioner has not completed his investigation related to this action and has not

 3   completed preparation for trial. These responses reflect the current state of Petitioner’s

 4   knowledge, understanding and belief with respect to the matters addressed in the Respondent’s
 5
     Request for Production. These responses are neither intended as, nor shall in any way be deemed,
 6
     as an admission or representation that further information or documents do not exist. Pursuant to
 7
     Fed. R. Civ. P. 26, Petitioner reserves the right to modify or supplement its responses with such
 8
     pertinent information as it may subsequently discover. Furthermore, these responses are given
 9

10   without prejudice to Petitioner’s right to use or rely on at any time, including trial, subsequently

11   discovered information or documents, or information or documents omitted from these answers
12   as a result of, among other things, mistake, error, oversight or inadvertence. Petitioner declines
13
     to produce multiple copies of documents and each document which is produced and identified as
14
     responsive to any request is also produced pursuant to any other to any other request to which it
15
     is or may be responsive. Petitioner declines to produce and send documents to Respondent which
16

17   were already produced by Petitioner or by Respondent herself in the course of this proceeding.

18          2.      The fact that Petitioner responds to any Document Request shall not be construed

19   as a waiver of all or any part of the objections interposed by Petitioner to any Document Request.
20          3.      Nothing contained herein is intended to be, nor shall in any way be construed as,
21
     a waiver of any attorney-client privilege, work-product protection, right to privacy, or any other
22
     applicable privilege, immunity, or protection. Any inadvertent inspection and subsequent
23
     production of any privileged information shall not constitute a waiver of any of the rights or
24

25   privileges of Petitioner, and Petitioner reserves the right to demand the return of any such

26   document and all copies thereof. To the extent that any Document Request may be construed as

27   calling for disclosure of documents or information protected by any privilege, immunity, or
28
     protection, a continuing objection is hereby interposed.
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            4.      Petitioner’s response to a specific Document Request should not be construed as
 1

 2   an admission that Petitioner accepts or admits the existence of any documents, evidence, fact

 3   and/or thing, and/or the validity of any legal argument, set forth in or assumed by such Document

 4   Request.
 5
            5.      The fact that Petitioner produces documents in response to a Document Request
 6
     does not mean that any of these documents constitute admissible evidence.
 7
            6.      Petitioner has not completed his investigation of the facts relating to this case and
 8
     has not completed preparation for trial. The following responses are based upon information
 9

10   presently available to Petitioner and are made without prejudice to the right to utilize subsequently

11   discovered facts, witnesses, documents or things, or legal arguments. Petitioner specifically
12   reserves the right to supplement these responses and to do so to the extent required or permitted
13
     under the Federal Rules of Civil Procedure.
14
                                        GENERAL OBJECTIONS
15
            7.      Petitioner’s specific objections to each discovery demand are in addition to the
16

17   general limitations and objections set forth in this section. These limitations and objections form

18   a part of the response to each demand and are set forth here to avoid the duplication and repetition

19   of restating them for each response. The absence of a reference to a general objection should not
20   be construed as a waiver of the general objection as to the specific request.
21
            8.      Petitioner objects to any and all Document Requests, Definitions, and/or
22
     Instructions to the extend they purport to impose obligations greater than those imposed by the
23
     Federal Rules of Civil Procedure and/or Local Rules of the United States District Court for the
24

25   Northern District of California. Petitioner will respond to the demand in accordance with the

26   requirements of the FRCP or the rules of this Court.

27          9.      Petitioner objects to the Document Request to the extent that they are vague,
28
     ambiguous, cumulative, duplicative, overbroad, unduly burdensome, based on incorrect factual
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     assumptions or otherwise unclear as to the precise information sought, and to the extent that they
 1

 2   seek factual information neither relevant nor reasonably calculated to lead to the discovery of

 3   admissible evidence. To the extent that a demand is vague or ambiguous, Petitioner has responded

 4   to the best of his ability but has not attempted to speculate as to the meaning thereof.
 5
            10.     Petitioner objects to any and all Document Requests to the extent that they seek
 6
     documents, information or materials that are or were readily available to the Respondent.
 7
            11.     Petitioner objects to the demands to the extent that they seek information or
 8
     materials not in Petitioner’s possession, custody, or control, or to the extent that they require
 9

10   Petitioner to search for information in places or from sources other than where such information

11   is kept in the ordinary course of business. Petitioner further objects to these demands to the extent
12   that they seek identification of documents or information that are no longer in existence.
13
            12.     Petitioner objects to the demands to the extent that they define Petitioner to include
14
     third parties that have not appeared in this action or purport to require Petitioner to search for or
15
     produce information solely in the possession, custody, or control of third parties.
16

17          13.     Petitioner objects to any Document Request that, by its terms, is (1) unduly

18   burdensome in scope; (2) calls for Respondent to speculate as to the information in which might

19   come within the scope of the Document Request; (3) calls for the production of privileged or
20   confidential material and (4) purports or attempts to impose obligation beyond those set forth in
21
     the Federal Rules of Civil Procedure.
22
            14.     Petitioner objects to the Document Request to the extent they are duplicative of
23
     each other. To the extent that documents Petitioner proposes to produce are responsive to more
24

25   than one Interrogatory or Document Request, Petitioner will list such documents only once, and

26   her failure to describe the documents on multiple occasions shall not be construed as an admission

27   that such documents are not responsive to other Interrogatories or Document Requests.
28
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             15.     Petitioner objects to any and all Document Request to the extent they are
 1

 2   argumentative and/or assume or suggest the existence of any fact or circumstance that is (or may

 3   in the future be) in dispute in this litigation.

 4           16.     Petitioner objects to any Document Request to the extent it is compound and/or
 5
     attempts to treat discrete subparts of a Document Request as a single Document Request.
 6
             17.     Petitioner objects to each Document Request to the extent that it seeks information
 7
     which is unduly burdensome to obtain and the extent that it is not reasonably calculated to lead
 8
     to the discovery of admissible evidence, including the request for the identification of "all"
 9

10   documents or "each" and "every" document when all relevant facts can be obtained from fewer

11   than "all" documents or "each" and "every" document.
12           18.     Insofar as Petitioner has responded to a demand to which it has objected, Petitioner
13
     reserves the right to maintain such objection and such objection is not waived in any respect by
14
     the provision of a response.
15
             19.     To the extent the Petitioner responds to any demand, Petitioner does so without
16

17   conceding the relevancy or materiality of such information or the subject matter of the applicable

18   demand and without prejudice to Petitioner’s right to object to further discovery on such subject

19   matter or to object to the admissibility of any such information at the time of hearing or trial. By
20   reserving such right, Petitioner does not intend to assume a duty to amend these responses other
21
     than as required by the FRCP.
22

23
                              SPECIFIC RESPONSES AND OBJECTIONS
24

25   REQUEST FOR PRODUCTION NO. 1:
26           All DOCUMENTS and COMMUNICATIONS identified or referenced in YOUR initial

27   disclosures dated September 5, 2024, or in YOUR responses to any Interrogatories.

28
     RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
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               Petitioner incorporates his General Objections, Objections to Definitions, and Objections
 1
     to Instructions in their entirety into this response. Subject to and without waiving the General
 2
     Objections, Objections to Definitions, Objections to Instructions, Petitioner produces at Folder
 3
     #1 responsive non-privileged documents and communications referenced in Petitioner’s initial
 4   disclosures or Answers to Interrogatories that can be identified through a reasonable, good-faith
 5   search.

 6
     REQUEST FOR PRODUCTION NO. 2:
 7
               All COMMUNICATIONS between YOU and each and every witness identified in YOUR
 8
     initial disclosures dated September 5, 2024.
 9

10   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
11             Petitioner incorporates his General Objections, Objections to Definitions, and Objections
12   to Instructions in their entirety into this response. Petitioner specifically objects to this Request

13   on the grounds that it is not limited by any time frame and, as written, could be understood to
     require the production of documents, recordings, or information regardless of when they were
14
     created or whether they are relevant or proportional to the needs of the case. This Request is
15
     vague, ambiguous, overbroad, and unduly burdensome.
16             Subject to and without waiving the General Objections, Objections to Definitions,
17   Objections to Instructions, or the foregoing Specific Objections, Petitioner produces at Folder #2
18   responsive documents that can be identified through a reasonable, good-faith search.

19
     REQUEST FOR PRODUCTION NO. 3:
20
               All DOCUMENTS and COMMUNICATIONS that relate to or reference the physical
21
     health, mental health, or YOUR relationship with YOUR CHILDREN from January 1, 2019 to
22   the present, including but not limited to COMMUNICATIONS with individuals connected to
23   YOUR CHILDREN’S school.
24

25   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
               Petitioner incorporates his General Objections, Objections to Definitions, and Objections
26
     to Instructions in their entirety into this response. Petitioner specifically objects to this Request
27
     on the grounds that it is overbroad, unduly burdensome, and not proportional to the needs of the
28
     case because it seeks “all documents and communications” concerning the subject matter of the
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     request. Petitioner further objects to this Request as vague and ambiguous because it is not clear
 1
     what documents are referred to that relate to the Petitioner’s relationship with his children.
 2
     Petitioner further objects to this Request to the extent that it seeks documents, records, or
 3
     information available to Respondent from other sources that are more convenient, less
 4   burdensome, or less expensive, including Respondent herself. Petitioner further objects to this
 5   request as it seeks “communications” with individuals connected to the Children’s school, but

 6   which school in particular has not been specified and what types of communications have not
     been specified.
 7
            Subject to and without waiving the General Objections, Objections to Definitions,
 8
     Objections to Instructions, or the foregoing Specific Objections, Petitioner produces at Folder #
 9
     3 responsive documents that relate to the physical and mental health of the children, as well as
10   emails he has sent to individuals that work at the Child Unique School in California, and other
11   documents that can be identified through a reasonable, good-faith search.
12

13   REQUEST FOR PRODUCTION NO. 4:
            All DOCUMENTS and COMMUNICATIONS that relate to or reference the physical
14
     health, mental health, or YOUR treatment in any way of RESPONDENT from January 1, 2019
15
     to the present, including but not limited to the list of rules YOU required RESPONDENT to write
16   out to govern her own behavior.
17

18   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

19          Petitioner incorporates his General Objections, Objections to Definitions, and Objections
     to Instructions in their entirety into this response. Petitioner specifically objects to this Request
20
     on the grounds that it is overbroad, unduly burdensome, and not proportional to the needs of the
21
     case because it seeks copies of “all documents and communications” concerning the subject
22   matter of the request. Petitioner further objects to this Request to the extent that it seeks
23   documents and communications that are not in the possession, custody, and control of Petitioner.
24   Petitioner further objects to this Request to the extent that it seeks documents, records, or

25   information available to Respondent from other sources that are more convenient, less
     burdensome, or less expensive, including Respondent herself.
26
            Subject to and without waiving the General Objections, Objections to Definitions,
27
     Objections to Instructions, or the foregoing Specific Objections, Petitioner produces at Folder #
28
     4 responsive documents that he has that relate to the physical and mental health of the Respondent,
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     and other documents and communications that can be identified through a reasonable, good-faith
 1
     search.
 2

 3
     REQUEST FOR PRODUCTION NO. 5:
 4             All COMMUNICATIONS that relate to or refer to members of RESPONDENT’S family,
 5   including but not limited to Jane Khoury, Michel Khoury, Maggie Khoury, and Nabil Khoury.

 6
     RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
 7
               Petitioner incorporates his General Objections, Objections to Definitions, and Objections
 8
     to Instructions in their entirety into this response. Petitioner specifically objects to this Request
 9
     on the grounds that it is not limited by any time frame and, as written, could be understood to
10   require the production of communications regardless of the time they were sent or whether they
11   are relevant to this case. This Request is vague, ambiguous, overbroad, and unduly burdensome.
12   In responding to this Request, Petitioner will only produce communications with the

13   aforementioned family members from a reasonably and relevant time period.
               Subject to and without waiving the General Objections, Objections to Definitions,
14
     Objections to Instructions, or the foregoing Specific Objections, Petitioner produces at Folder #5
15
     responsive documents containing communications with members of Respondent’s family that can
16   be identified through a reasonable, good-faith search.
17

18   REQUEST FOR PRODUCTION NO. 6:

19             All DOCUMENTS and COMMUNICATIONS that relate to or reference any
     investigation, inquiry, or warning related to YOU or YOUR conduct that is or has ever been
20
     conducted by any governmental or nongovernmental entity.
21

22   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
23             Petitioner incorporates his General Objections, Objections to Definitions, and Objections
24   to Instructions in their entirety into this response. Petitioner specifically objects to this Request

25   on the grounds that it is not limited by any time frame and, as written, could be understood to
     require the production of communications regardless of the time they were sent or whether they
26
     are relevant to this case. This Request is vague, ambiguous, overbroad, and unduly burdensome.
27

28
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             Subject to and without waiving the General Objections, Objections to Definitions,
 1
     Objections to Instructions, or the foregoing Specific Objections, Petitioner produces at Folder #6
 2
     responsive documents that can be identified through a reasonable, good-faith search.
 3

 4   REQUEST FOR PRODUCTION NO. 7:
 5           DOCUMENTS sufficient to identify each and every primary residence where YOUR

 6   CHILDREN have lived since they were born and the time frames that YOUR CHILDREN resided
     in each primary residence.
 7

 8
     RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
 9
             Petitioner incorporates his General Objections, Objections to Definitions, and Objections
10   to Instructions in their entirety into this response.
11           Subject to and without waiving the General Objections, Objections to Definitions,
12   Objections to Instructions, or the foregoing Specific Objections, Petitioner produces at Folder #7

13   responsive documents that can be identified through a reasonable, good-faith search.

14
     REQUEST FOR PRODUCTION NO. 8:
15
             All DOCUMENTS that relate to YOUR contention that YOU and/or YOUR CHILDREN
16   maintained or intended to maintain habitual residence in Armenia, including any and all past or
17   present employment contracts in Armenia.
18

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
             Petitioner incorporates his General Objections, Objections to Definitions, and Objections
20
     to Instructions in their entirety into this response.
21
             Subject to and without waiving the General Objections, Petitioner produces at Folder #8
22   responsive documents that can be identified through a reasonable, good-faith search.
23

24   REQUEST FOR PRODUCTION NO. 9:

25           All DOCUMENTS and COMMUNICATIONS relating to the allegations that YOU
     inflicted physical, mental, and/or emotional harm on RESPONDENT and/or YOUR CHILDREN
26
     at any time from January 2024 through April 2024.
27

28
     RESPONSE TO REQUEST FOR PRODUCTION NO. 9:
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             Petitioner incorporates his General Objections, Objections to Definitions, and Objections
 1
     to Instructions in their entirety into this response.
 2
             Subject to and without waiving the General Objections, Petitioner produces at Folder #9
 3
     responsive documents that can be identified through a reasonable, good-faith search.
 4

 5   REQUEST FOR PRODUCTION NO. 10:

 6           All DOCUMENTS and COMMUNICATIONS that relate to YOUR contention that YOU
     actually exercised custody rights over YOUR CHILDREN in April 2024.
 7

 8
     RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
 9
             Petitioner has no documents responsive to this request.
10

11

12   Dated: September 25, 2024
13
                                                             Respectfully submitted,
14
                                                             /s/ Kelly J. Shindell DeLacey
15
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